

ORDER

PER CURIAM:
AND NOW, this 6th day of June, 2000, Steven J. Marmarou having been disbarred on consent from the practice of law in the State of New Jersey by Order of the Supreme Court of New Jersey dated December 14, 1999; the said Steven J. Mar-marou having been directed on April 10, 2000, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Steven J. Marmarou is disbarred from the practice of law in this Commonwealth, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
